         Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 1 of 10 PageID 88
Filing # 189720537 E-Filed 01/13/2024 07:36:43 PM




         FORM      1.997.      CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)


                  I.        CASE STYLE

                         IN THE CIRCUIT/COUNTY COURT OF THE FIFTH JUDICIAL CIRCUIT,
                                  IN AND FOR MARION  COUNTY, FLORIDA

         FREDDY         L ADAMS
         Plaintiff                                                                 Case #
                                                                                   Judge
         vs.
        LIFE CARE       CENTERS    OF AMERICA,       INC.
         Defendant



                  II.       AMOUNT    OF CLAIM
        Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

         L]   $8,000 or less
         (| $8,001 - $30,000
         L] $30,001- $50,000
         & $50,001- $75,000
         L] $75,001 - $100,000
         LJ over $100,000.00

                  Wl.    TYPE OF CASE            (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.




         Electronically Filed Marion Case # 24CA000073AX 01/13/2024 07:36:43 PM
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 2 of 10 PageID 89




CIRCUIT CIVIL

CO Condominium
CO Contracts and indebtedness
CO Eminent domain
O Auto negligence
O Negligence—other
         C Business governance
         Cl Business torts
         O Environmental/Toxic tort
         O Third party indemnification
         Ci Construction defect
           O Mass tort
       C1 Negligent security
       O Nursing home negligence
       OC Premises liability—commercial
       C Premises liability—residential
O Products liability
7 Real Property/Mortgage foreclosure
       CX Commercial foreclosure
       OC Homestead residential foreclosure
       ZC Non-homestead residential foreclosure
       C Other real property actions

_]Professional malpractice
        C1 Malpractice—business
        Ol Malpractice—medical
        O Malpractice—other professional
& Other
        O Antitrust/Trade regulation
        OC Business transactions
        O Constitutional challenge—statute or ordinance
        Ol Constitutional challenge—proposed amendment
        XO Corporate trusts
           Discrimination—employment or other
        CF Insurance claims
        C1 Intellectual property
        2 Libel/Slander
        OC Shareholder derivative action
        OC Securities litigation
        OC Trade secrets
        OC Trust litigation

COUNTY CIVIL

C1 Small Claims up to $8,000
01 Civil
L] Real property/Mortgage foreclosure
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 3 of 10 PageID 90



 L] Replevins
 L] Evictions
         L]        Residential Evictions
         L] Non-residential Evictions
 C) Other civil (non-monetary)

                                             COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order.          Yes L] No


         IV.     REMEDIES SOUGHT (check all that apply):
         X] Monetary;
             Nonmonetary declaratory or injunctive relief;
         1) Punitive

         V.      NUMBER OF CAUSES OF ACTION:                       [_ ]
         (Specify)

               2

         VI.           IS THIS CASE A CLASS ACTION LAWSUIT?
                       LC] yes
                           no

         VII.          HAS      NOTICE     OF ANY   KNOWN    RELATED       CASE    BEEN FILED?
                          no
                       LX yes If “yes,” list all related cases by name, case number, and court.

         VU.           IS JURY      TRIAL DEMANDED        IN COMPLAINT?
                          yes
                       C1 no


         IX.           DOES      THIS CASE    INVOLVE     ALLEGATIONS         OF SEXUAL      ABUSE?
                       CI yes
                          no


 I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
 my knowledge and belief, and that I have read and will comply with the requirements of
 Florida Rule of Judicial Administration 2.425.

 Signature: s/ Jason William Imler                            Fla. Bar # 1004422
                 Attorney or party                                           (Bar # if attorney)

Jason William Imler                                   01/13/2024
 (type or print name)                                 Date

                                                      _3-
        Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 4 of 10 PageID 91
Filing # 189720537 E-Filed 01/13/2024 07:36:43 PM




                     IN THE    CIRCUIT COURT FOR THE FIFTH JUDICIAL                    CIRCUIT
                                 IN AND FOR MARION COUNTY, FLORIDA
                                            CIVIL DIVISION

         FREDDY     LORENZO       ADAMS,

                Plaintiff,

        v.                                                      CASE    NO:

         LIFE CARE CENTERS OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.



                                                     SUMMONS

         THE STATE OF FLORIDA:
         To Each Sheriff of the State:
        YOU ARE COMMANDED to serve this summons and.a copy of the complaint or petition in this
        action on defendant, LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER
        OF OCALA’s registered agent:

         CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALLAHASSEE, FL 32301

         Each defendant is required to serve written defenses to the complaint or petition on   Jason W. Imler,
        plaintiff's attorney, whose address is 23110 State Road 54, Unit 407, Lutz, Florida 33549 within
        20! days after service of this summons on that defendant, exclusive of the day of service, and to
        file the original of the defenses with the clerk of this court either before service on plaintiff's
        attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against
        that defendant for the relief demanded in the complaint or petition.

         DATED on this 13th day of January 2024
        /s/ Jason W.Imler                                               GREGORY C. HARRELL
        Printed:    Jason W. Imler                                      As Clerk of the Court
        Attorney for FREDDY LORENZO ADAMS
        23110 State Road 54, Unit 407                                   By:
        Lutz, Florida 33549                                             As Deputy Clerk
        Phone (813) 553-7709                                            (352) 754-4201
        Florida Bar No.:      1004422



                                                            1
         Electronically Filed Marion Case # 24CA000073AX 01/13/2024 07:36:43 PM
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 5 of 10 PageID 92




‘Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida,
one of its agencies, or one of its officials or employees sued in his or her official capacity is a
defendant, the time to be inserted as to it is 40 days. When suit is brought pursuant to section
768.28, Florida Statutes, the time to be inserted is 30 days.

If you are a person with a disability who needs an accommodation in order to participate in a
proceeding, you are entitled, at no cost to you, the provision of certain assistance. Please contact
the ADA Coordinator for the Courts within 2 working days of your receipt of your notice to appear
in Court at: Citrus County, John Sullivan (352) 341-6700; Hernando County, Peggy Welch (352)
754-4402; Lake County, Laurie Crews (352) 253-0900 x100; Marion County, Tameka Gordon
(352) 401-6701; or Sumter County, Lorna Barker (352) 569-6088.

                                              IMPORTANT
A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
will not protect you. Your written response, including the case number given above and the names
of the parties, must be filed if you want the court to hear your side of the case. If you do not file
your response on time, you may lose the case, and your wages, money, and property may thereafter
be taken without further warning from the court. There are other legal requirements. You may
want to call an attorney right away. If you do not know an attorney, you may call an attorney
referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response
to the court you must also mail or take a copy of your written response to the “Plaintiff/Plaintiff’s
Attorney” named in the documents.

                                            IMPORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.Una
llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
Sino conoce a un abogado, puede llamar a una de las oficinas
de asistencia legal que aparecen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante
el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada abajo como Plaintiff/Plaintiff's Attorney” (Demandante o Abogado del Demandante).
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 6 of 10 PageID 93




                                             IMPORTANT
Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous
etesobliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du
nom des parties nommees ici,si vous souhaitez que le tribunal entende votre cause. Si vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
du tribunal. Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats
d’un avocat. Si vous ne connaissezpas d’avocat, vous pourriez telephoner a un service de reference
d’avocats ou a un bureau d’ assistance juridique (figurant a l’annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite,il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff/Plaintiff’s Attorney” (Plaignant ou a son avocat) nomme ci-ddessousous.
        Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 7 of 10 PageID 94
Filing # 190225552 E-Filed 01/22/2024 11:56:08 AM




                     IN THE         CIRCUIT    COURT   FOR    THE    FIFTH   JUDICIAL   CIRCUIT
                                     IN AND    FOR   MARION    COUNTY,       FLORIDA
                                                     CIVIL   DIVISION


         FREDDY     LORENZO           ADAMS,


                Plaintiff,
         v.                                                         CASE NO:      24-CA-73

         LIFE CARE CENTERS OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.



                                                       SUMMONS

         THE STATE OF FLORIDA:
         To Each Sheriff of the State:
         YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
         action on defendant, LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER
         OF OCALA’s registered agent:

         CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALLAHASSEE, FL 32301

         Each defendant is required to serve written defenses to the complaint or petition on Jason W. Imler,
         plaintiff's attorney, whose address is 23110 State Road 54, Unit 407, Lutz, Florida 33549 within
         20' days after service of this summons on that defendant, exclusive of the day of service, and to
         file the original of the defenses with the clerk of this court either before service on plaintiff's
         attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against
         that defendant for the relief demanded in the complaint or petition.
                             22ND
         DATED on this +3th day of January 2024
        /s/ Jason W.Imler                                                GREGORY C. HARRELL
        Printed: _ Jason W. Imler                                        As Clerk of the Court
        Attorney for FREDDY LORENZO ADAMS
        23110 State Road 54, Unit 407                                    By:    Nowe
        Lutz, Florida 33549                                              As Deputy Clerk
        Phone (813) 553-7709                                             (352) 754-4201
        Florida Bar No.: 1004422


                                                             1
         Electronically Filed Marion Case # 24CA000073AX 01/22/2024 07:36:08 RM
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 8 of 10 PageID 95




‘Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida,
one of its agencies, or one of its officials or employees sued in his or her official capacity is a
defendant, the time to be inserted as to it is 40 days. When suit is brought pursuant to section
768.28, Florida Statutes, the time to be inserted is 30 days.

If you are a person with a disability who needs an accommodation in order to participate in a
proceeding, you are entitled, at no cost to you, the provision of certain assistance. Please contact
the ADA Coordinator for the Courts within 2 working days of your receipt of your notice to appear
in Court at: Citrus County, John Sullivan (352) 341-6700; Hernando County, Peggy Welch (352)
754-4402;   Lake County,   Laurie Crews   (352) 253-0900 x100; Marion County, Tameka          Gordon
(352) 401-6701; or Sumter County, Lorna Barker (352) 569-6088.

                                              IMPORTANT
A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached complaint with the clerk of this court. A phone call
will not protect you. Your written response, including the case number given above and the names
of the parties, must be filed if you want the court to hear your side of the case. If you do not file
your response on time, you may lose the case, and your wages, money, and property may thereafter
be taken without further warning from the court. There are other legal requirements. You may
want to call an attorney right away. If you do not know an attorney, you may call an attorney
referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response
to the court you must also mail or take a copy of your written response to the “Plaintiff/Plaintiff’s
Attorney” named in the documents.

                                           IMPORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.Una
llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
Sino conoce a un abogado, puede llamar a una de las oficinas
de asistencia legal que aparecen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante
el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
denominada abajo como Plaintiff/Plaintiff’'s Attorney” (Demandante o Abogado del Demandante).
Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 9 of 10 PageID 96




                                             IMPORTANT
Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous
etesobliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du
nom des parties nommees ici,si vous souhaitez que le tribunal entende votre cause. $i vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
du tribunal, Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats
d’un avocat. Si vous ne connaissezpas d’avocat, vous pourriez telephoner a un service de reference
d’avocats ou a un bureau d’assistance juridique (figurant a l’annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite,il vous faudra egalement, en meme
temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
“Plaintiff/Plaintiff’s Attorney” (Plaignant ou a son avocat) nomme ci-ddessousous.
        Case 5:24-cv-00083-TJC-PRL Document 1-6 Filed 02/22/24 Page 10 of 10 PageID 97
Filing # 190490977 E-Filed 01/24/2024 10:42:59 PM



                     IN THE CIRCUIT COURT FOR THE FIFTH JUDICIAL CIRCUIT
                              IN AND FOR MARION COUNTY, FLORIDA
                                         CIVIL DIVISION

         FREDDY LORENZO ADAMS,

                Plaintiff,

        Vv.                                                     CASE    NO:       = 24-CA-73


        LIFE CARE CENTERS            OF AMERICA, INC.
         d/b/a LIFE CARE CENTER OF OCALA,

                Defendant.
                                                                                   /

               PLAINTIFF’S NOTICE OF FILING PROOF OF SERVICE ON DEFENDANT

                The Plaintiff, FREDDY      LORENZO      ADAMS,     hereby files the attached Proof of Service

         against Defendant, LIFE CARE CENTERS OF AMERICA, INC. d/b/a LIFE CARE CENTER OF

         OCALA.

                                                                Respectfully Submitted by:

                                                                /s/ Jason W. Imler, Esq
                                                                Jason W. Imler
                                                                Florida Bar No. 1004422
                                                                Imler Law
                                                                23110 State Road 54, Unit 407
                                                                Lutz, Florida 33549
                                                                (P): 813-553-7709
                                                                Jason@ImlerLaw.com
                                                                Attorneys for Plaintiff




         Electronically Filed Marion Case # 24CA000073AX 01/24/2024 10:42:59 PM
